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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 LASHAWN JONES, ET AL.                                                            CIVIL ACTION


                                                                                        No. 12-859
 VERSUS                                                                                 c/w 12-138
                                                                                      REF: 12-859


 MARLIN GUSMAN, ET AL.                                                                  SECTION I

                                              ORDER

       The Court has received a request1 filed by the City of New Orleans for oral argument on its

motion2 to invalidate contract or alternatively to terminate contract. The Court will be unable to hear

oral argument at the time requested. If, at a later date, the Court finds that oral argument will be

helpful, counsel will be notified.



       New Orleans, Louisiana, March 24, 2015.

                                                       ________________________________
                                                       LANCE M. AFRICK
                                                       UNITED STATES DISTRICT JUDGE




       1
        R. Doc. No. 792.
       2
        R. Doc. No. 791.

                                                  1
